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UNITED STATES DISTRICT COURT

DISTRICT OF MARYLAND

DAWUD BEST, )

)

Plaintiff, )

)

vs. )
) CASE NO.: 8:15-cv-01141-PWG

CREDIT BUREAU OF NAPA COUNTY _ )

INC., et al., )

)

Defendants. )

)

 

STIPULATION OF DISMISSAL WITH PREJUDICE
IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff,
Dawud Best, and Defendant, Equifax Information Services LLC that, pursuant to Fed. R.
Civ. P. 41(a)(1)(ii), this action be dismissed with prejudice against Defendant Equifax
Information Services LLC, as settled, with each party to bear their own costs and

expenses.

Respectfully submitted tris ay of August, 2016.

jpr—

 
 
  

 
 
    

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Dawud Best Nathan Daniel Adler, Esq. Bar No. 22645
$800 Carlyle Street Neuberger, Quinn, Gielen, Rubin & Gibber,
Cheverly, MD 20785 PLA.

Pro Se Plaintiff One South Street, 27" Floor

Baltimore, Maryland 21202-3201
(410) 332-8516

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